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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                            CRIMINAL ACTION NO. 09-00279-11

 VERSUS                                              JUDGE S. MAURICE HICKS, JR.

 CARLOS B. MOORE                                     MAGISTRATE JUDGE HORNSBY

                                             ORDER

        Before the Court is a Motion for Reconsideration (Record Document 796) filed by

 Carlos B. Moore (“Moore”). Moore asks the Court to reconsider its May 12, 2016 Order

 (Record Document 791).         At this time, both Moore’s Section 2255 motion (Record

 Document 628) and his Motion to Reduce Sentence (Record Document 717) remain

 pending and rulings will issue in due course. This Court fully intends to resolve all claims

 for relief raised in Moore’s Section 2255 motion. See Clisby v. Jones, 960 F.2d 925, 936

 (11th Cir. 1992) (holding district courts must resolve all claims for relief raised in a petition

 for writ of habeas corpus, regardless whether habeas relief is granted or denied). The

 “Request for Remedial Relief” motion recently denied by this Court was not construed as

 a habeas motion. See Record Documents 790 & 791. Moore has not shown that

 reconsideration is warranted in this instance.

        Accordingly, based on the showing made in his motion, Moore’s Motion for

 Reconsideration (Record Document 796) is DENIED.

        IT IS SO ORDERED.

        THUS DONE AND SIGNED, in Shreveport, Louisiana, this 5th day of October, 2016.
